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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION
CIBC BANK USA f/k/a THE PRIVATE     )
BANK AND TRUST COMPANY, as          )
Administrative Agent,               )
                                    )
           Plaintiff,               )                    No. 18-cv-3964
                                    )
      vs.                           )
                                    )                    Judge John Z. Lee
JH PORTFOLIO DEBT EQUITIES, LLC; JH )                    Magistrate Judge Sunil R. Harjani
PORTFOLIO DEBT EQUITIES 2, LLC; JH )
PORTFOLIO DEBT EQUITIES 4, LLC; and )
JH REVIVER LLC,                     )
                                    )
           Defendants.              )

      RECEIVER’S MOTION TO WITHDRAW MOTION FOR CIVIL CONTEMPT

        Ronald F. Greenspan, not individually, but solely as the receiver (“Receiver”) appointed

by the Stipulated Order for Immediate Appointment of Receiver, dated February 8, 2019 [Docket

#91], hereby moves the Court (the “Motion”) to enter an order withdrawing without prejudice his

Motion to Hold Defendants in Civil Contempt for Failing to Provide Access to Telephone System,

Certain Software and Databases, dated May 10, 2019 [Docket #133] (the “Contempt Motion”).

        WHEREFORE, the Receiver respectfully moves the Court to grant the Motion, withdraw

the Contempt Motion without prejudice and grant such further relief as the Court deems necessary

and appropriate.

Dated: May 30, 2019                              Respectfully submitted,
                                                 Ronald W. Greenspan, Receiver

                                                 By /s/ Terence G. Banich
                                                              One of his attorneys
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